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 9
                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 17-CR-00222TLN
                      Plaintiff,       )
12                                     ) STIPULATION REGARDING
                                       ) RELEASE OF PROPERTY
13
           v.                          ) BOND;
14                                     ) FINDINGS AND
                                       ) ORDER
15
     RACHEL FELIX                      )
16                                     )
                      Defendants.      )
17   __________________________________) Judge: Hon. Kendall J. Newman
18
                                          STIPULATION
19

20          It is hereby stipulated that the secured property bond on 1112 4th Street, Woodland,
21   CA 95695 (Pacer 41 & 45) be released. This property was listed as secure collateral as a
22
     condition of pretrial release for Rachel Felix. However, Ms. Felix was returned to custody
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24
     on August 19, 2020 (Pacer 75) and there is no longer a need for the secure collateral in

25   this case.
26
            Pretrial and the AUSA do not oppose this request.
27
            In addition, the Clerk’s Office is directed to reconvey the property as follows: 1112
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 1   4th Street, Woodland CA 95695 to Jose F. Castellanos and Maria V. Castellanos.
 2
     IT IS SO STIPULATED.
 3

 4
     Dated: August 31, 2020                  Respectfully submitted,
 5

 6
                                             /s/ Kelly Babineau
 7                                           KELLY BABINEAU
                                             Attorney for Rachel Felix
 8

 9
     Dated: August 31, 2020                  /s/ Justin Lee
10                                           JUSTIN LEE
11
                                             Assistant U.S. Attorney

12

13
     Dated: August 31, 2020                  /s/ Steve Sheehan
                                             STEVE SHEEHAN
14                                           U.S. Pretrial Release Officer
15

16
                                           ORDER
17

18
           IT IS SO FOUND AND ORDERED this 31st day of August, 2020.
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